Case 1:19-cr-00455-CCB Document1 Filed 09/24/19 Page 1 of 2

 
  

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CNM: SAO 2019R60621 oI] FRICT TOF 4 af EL AND
IN THE UNITED 2019 SEP 2s Ritrtscrt COURT
FOR THE DISTRICT OF MARYLAND
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UNITED STATES OF AMERICA -_

v. * CRIMINAL No.CC2~t4- 0 Y55

DELONTE WHEELER, * (Possession of a Firearm by
* a Prohibited Person, 18 U.S.C.
Defendant * § 922(¢)(1); Forfeiture, 18 U.S.C.
* § 924(d), 28 U.S.C. § 2461(¢))

Rite dek
INDICTMENT
COUNT ONE
The Grand Jury for the District of Maryland changes that:
On or about April 30, 2019, in the District of Maryland, the defendant,
DELONTE WHEELER,
knowing he had previously been convicted of a crime punishable by imprisonment for a term
exceeding one year, knowingly possessed a firearm, that is, a Taurus Millennium Pro 9mm An W
semiautomatic handgun, serial #TYJ40645, and twelve rounds of Winchester 9mm caliber Luggt

cartridges, and the firearm and ammunition were in and affecting commerce.

18 U.S.C. § 922(g)
 

Case 1:19-cr-00455-CCB Document1 Filed 09/24/19 Page 2 of 2

FORFEITURE

The Grand Jury for the District of Maryland further charges that:

1, Pursuant to Rule 32.2, Fed. R. Crim. P., notice is hereby given to the defendant
that the United States will seek forfeiture as part of any sentence in accordance with Title 18,
United States Code, Section 924(d); and Title 28, United States Code, Section 2461(c), as a
result of the defendant’s conviction under Count One of the Indictment.

2. As a result of the offense alleged in Count One of this Indictment, the defendant,

DELONTE WHEELER,

shall forfeit to the United States the firearm and ammunition involved in the commission of the
offense: the Taurus Millennium Pro 9mm semiautomatic handgun, serial #4T YJ40645, and twelve

rounds of Winchester 9mm caliber Lugar cartridges.

18 U.S.C. § 924(d)

28 U.S.C. § 2461(c)
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Robert K. Hur €
United States Attorney

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